        Case 1:18-cv-01814-JEJ Document 51 Filed 04/17/20 Page 1 of 2




              UNITED STATES DISTRICT COURT FOR THE
                MIDDLE DISTRICT OF PENNSYLVANIA


SUZANNE SALOV,                                )
                                              )
                         Plaintiff,           )
                                              )
                   v.                         )   Civil No. 1:18-CV-01814-JEJ
                                              )
COMMONWEALTH OF                               )
PENNSYLVANIA et al.                           )
                                              )
                         Defendants.          )



                          ENTRY OF APPEARANCE


      Kindly enter my appearance on behalf of the Plaintiff, SUZANNE SALOV,

with respect to the above-captioned matter.

                                              Respectfully submitted,

DATE: April 17, 2017                            /s/Scott P. Stedjan
                                              ____________________________
                                              Scott P. Stedjan, Esquire
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                                         1
          Case 1:18-cv-01814-JEJ Document 51 Filed 04/17/20 Page 2 of 2




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                 MIDDLE DISTRICT OF PENNSYLVANIA


SUZANNE SALOV,                              )
                                            )
                         Plaintiff          )
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                   v.                       )   Civil No. 1:18-CV-01814-JEJ
                                            )
COMMONWEALTH OF                             )
PENNSYLVANIA et al.,                        )
                                            )
                         Defendants         )




                         CERTIFICATE OF SERVICE

      The undersigned counsel certifies that on April 17, 2020, he caused to be

served a copy of the foregoing Entry of Appearance, via CM/ECF upon counsel of

record.

                                              /s/Scott P. Stedjan
                                            ____________________________
                                            Scott P. Stedjan, Esquire
                                            PA I.D. No. 318851
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